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 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA

10
11   THOMAS F. REISER, JR.,               No. 2:16-cv-00237-MCE-CKD
     et al.,
12
                   Plaintiffs,
13
           v.
14                                        AMENDED ORDER OF CONSOLIDATION
     MARRIOTT VACATIONS WORLDWIDE
15   CORPORATION, et al.,
16                 Defendants.
17
18                                        No. 2:16-cv-01465-MCE-CKD
     ARJUN BHAGAT, et al.,
19
                    Plaintiffs,
20
           v.
21
     MARRIOTT VACATIONS WORLDWIDE
22   CORPORATION, et al.,
23                 Defendants.
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25   See case caption on next page
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     Case 2:16-cv-01465-MCE-CKD Document 25 Filed 07/25/17 Page 2 of 3


 1   CHRISTOPHER B. EHRLICH,              2:17-cv-00952-MCE-CKD
     et al.,
 2
                    Plaintiffs,
 3
             v.
 4
     MARRIOTT VACATIONS WORLDWIDE
 5   CORPORATION, et al.,
 6                 Defendants.
 7
 8         After review of the Amended Joint Motion to Consolidate
 9   Cases, the Court makes the following orders:
10         1. Pursuant to Red. R. Civ. P. 42, the actions denominated
11   as Thomas F. Reiser, Jr., et al. v. Marriott Vacations Worldwide
12
     Corporation, et al., 2:16-cv-00237-MCE-CKD, Arjun Bhagat, et al.
13
     v. Marriott Vacations Worldwide Corporation, et al., No. 2:16-cv-
14
     01465-MCE-CKD, and Christopher B. Ehrlich, et al., v. Marriott
15
     Vacations Worldwide Corporation, et al., No. 2:17-cv-00952-MCE-
16
17   CKD, are consolidated;

18         2. Case No. 2:16-cv-00237-MCE-CKD, Thomas F. Reiser, Jr.,

19   et al. v. Marriott Vacations Worldwide Corporation, et al., is
20   designated as the “master file”;
21
           3. The Clerk of the Court is directed to add all complaints
22
     and answers filed in Arjun Bhagat, et al. v. Marriott Vacations
23
     Worldwide Corporation, et al., No. 2:16-cv-01465-MCE-CKD, and
24
25   Christopher B. Ehrlich, et al., v. Marriott Vacations Worldwide

26   Corporation, et al., No. 2:17-cv-00952-MCE-CKD to the master

27   case;
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 1         4. The Clerk of the Court is directed to administratively
 2   close cases Arjun Bhagat, et al. v. Marriott Vacations Worldwide
 3
     Corporation, et al., No. 2:16-cv-01465-MCE-CKD, and Christopher
 4
     B. Ehrlich, et al., v. Marriott Vacations Worldwide Corporation,
 5
     et al., No. 2:17-cv-00952-MCE-CKD;
 6
           5. The parties are directed to file all future pleadings,
 7
 8   motions and other filings ONLY in the master case,

 9   No. 2:16-cv-00237-MCE-CKD.

10         IT IS SO ORDERED.
11   Dated:   July 24, 2017
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